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                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


                                            MDL No. 5:18-md-02827
IN RE: APPLE INC. DEVICE
PERFORMANCE LITIGATION                      Hon. Edward J. Davila

                                            This Document Relates To: ALL CASES


                           NOTICE OF CHANGE OF ADDRESS

       PLEASE TAKE NOTICE that pursuant to Rule 3-11(a) of the Local Civil Rules,

Melissa R. Emert, Co-Counsel for said plaintiffs, Benjamin Lazarus, Stephen Margolis,

Sandy Brodksy, Lauren Weintraub, Amy Brown, Jessica Greenshner, Matthew Shaske,

Annamarie Vinacco and Dale Johnson, hereby requests to change her contact information

as counsel of record as follows and respectfully requests service upon her of all future

pleadings, papers, correspondence, and electronic filings in this action at:

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Date: June 23, 2020
                                               Respectfully submitted,

                                               /s/ Melissa R. Emert___________________
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